Case 2:22-cv-00051-MWF-JC Document 107 Filed 05/03/23 Page 1 of 7 Page ID #:3302



    1   ELLIOT GIPSON PC
        ELLIOT B. GIPSON (State Bar. No. 234020)
    2   egipson@elliotgipson.com
        BRIANNA LOGAN (State Bar No. 347947)
    3   blogan@elliotgipson.com
        15260 Ventura Blvd., Ste. 835
    4   Los Angeles, California 91403
        Telephone: 310.817.1268
    5
        Attorneys for Defendants EngineOwning UG,
    6   Valentin Rick, Leonard Bugla, Leon Frisch,
        Marc-Alexander Richts, Alexander Kleeman,
    7   Leon Schlender, Bennet Huch, Pascal Classen,
        and Remo Loffler
    8

    9

   10
                            UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
   12

   13   ACTIVISION PUBLISHING, INC., a             CASE NO. 2:22-CV-00051-MWF
        Delaware corporation,
   14
                    Plaintiffs,                    THIRD JOINT STIPULATION TO
   15                                              EXTEND FOREIGN
                   vs.                             DEFENDANTS’ TIME TO
   16                                              ANSWER PLAINTIFF’S FIRST
        ENGINEOWNING UG, a German                  AMENDED COMPLAINT
   17   corporation, CMM HOLDINGS S.A., a
        German corporation, GARNATZ                Judge: Hon. Michael W. Fitzgerald
   18   ENTERPRISE LTD., a Belize
        corporation, VALENTIN RICK, an             Dept.: 5A
   19   individual, LEONA RD BUGLA, an
        individual, LEON FRISCH, an                Complaint Filed: January 4, 2022
   20   individual, IGNACIO
        GAYDUCHENKO, an individual,                FAC Filed: September 16, 2022
   21   MARC-ALEXANDER RICHTS, an
        individual, ALEXANDER KLEEMAN,             Current Response Date: June 1, 2023
   22   an individual, LEON SCHLENDER, an
        individual, ERICK PFEIFER, an              New Response Date: June 8, 2023
   23   individual, BENNET HUCH, an
        individual, ZAIN JONDAH, an
   24   individual, RICKY SZAMEITAT, an
        individual, MARCEL BINDEMANN,
   25   an individual, REMO LOFFLER, an
        individual, MARVIN BAOTIC
   26   NEUMEYER, an individual,
        HENDRIK SMAAL, an individual,
   27   CHARLIE WIEST, an individual,
        DENNIS REISSLEICH, an individual,
   28   TYLER BYRD, an individual, SIMON

                    THIRD JOINT STIPULATION TO EXTEND DEFENDANTS’ TIME TO ANSWER
Case 2:22-cv-00051-MWF-JC Document 107 Filed 05/03/23 Page 2 of 7 Page ID #:3303



    1   MASIAS, an individual, NICHOLAS
        JAMES BALDWIN, an individual,
    2   ANTONIO MEDIAN, an individual,
        REMY CARTIGNY, an individual,
    3   PASCAL CLASSEN, an individual,
        MANUEL T. SANTIAGO, an
    4   individual, and KATERINA DISDLE,
        an individual, and DOES 1-50,
    5   inclusive,
    6
                    Defendants.
    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                    THIRD JOINT STIPULATION TO EXTEND DEFENDANTS’ TIME TO ANSWER
Case 2:22-cv-00051-MWF-JC Document 107 Filed 05/03/23 Page 3 of 7 Page ID #:3304



    1           Defendants Valentin Rick, Leonard Bugla, Leon Frisch, Marc-Alexander
    2   Richts, Alexander Kleeman, Leon Schlender, Bennet Huch, Pascal Classen, Remo
    3   Loffler, and Engineowning UG (hereinafter “Foreign Defendants”) and Plaintiff
    4   Activision Publishing, Inc. (hereinafter “Plaintiff”), by and through their respective
    5   counsel of record, stipulate as follows:
    6           1.   On January 4, 2022, Plaintiff filed its initial complaint in the above-
    7   captioned matter, against six individual defendants and two corporate defendants, in
    8   the United States District Court for the Central District of California.
    9           2.   On September 16, 2022, Plaintiff filed its Amended Complaint, adding
   10   additional defendants and causes of action.
   11           3.   On November 22, 2022, Plaintiff and Foreign Defendants filed a joint
   12   stipulation, extending Foreign Defendants’ time to respond to the First Amended
   13   Complaint to January 13, 2023. This joint stipulation was granted on November 23,
   14   2022.
   15           4.   On January 13, 2023, Foreign Defendants filed a Motion to Dismiss
   16   under Fed. R. Civ. P. 12(b)(2) for lack of personal jurisdiction, 12(b)(6) for failure to
   17   state a claim, as well as under principles of extraterritoriality, international comity,
   18   and forum non conveniens. A hearing for this motion was held on March 27, 2023.
   19           5.   On April 4, 2023, the Court issued an order denying in part and granting
   20   in part the Foreign Defendants’ motion to dismiss the action. The Court ruled that
   21   Plaintiff could file a second amended complaint by April 18, 2023. Plaintiff did not
   22   file a second amended complaint. The Court ordered Defendants to file an answer to
   23   the operative complaint no later than May 2, 2023.
   24           6.   On April 27, 2023, Plaintiff and Foreign Defendants filed a second joint
   25   stipulation, extending Foreign Defendants’ time to answer the First Amended
   26   Complaint to June 1, 2023.
   27           7.   On April 28, 2023, the Court granted the Parties’ second joint stipulation
   28   to extend time to answer. Therefore, Foreign Defendants’ answer to the First
                                                   -1-
                       THIRD JOINT STIPULATION TO EXTEND DEFENDANTS’ TIME TO ANSWER
Case 2:22-cv-00051-MWF-JC Document 107 Filed 05/03/23 Page 4 of 7 Page ID #:3305



    1   Amended Complaint is currently due on June 1, 2023.
    2         8.     The Parties now jointly seek the Court’s approval to stipulate that the
    3   Foreign Defendants may have up to and including June 8, 2023 to file an answer in
    4   response to the First Amended Complaint.
    5         9.     As described in the Declaration of Elliot B. Gipson filed in support of
    6   this stipulation, there has been a breakdown of communication between Elliot Gipson
    7   PC and the Foreign Defendants. At this point, absent a change in circumstances,
    8   Elliot Gipson PC anticipates filing a motion or motions for withdrawal as counsel of
    9   record for all of the Foreign Defendants by May 8, 2023, and Plaintiff has indicated
   10   that it will not oppose such motion.
   11         10.    In advance of the anticipated motion to withdraw, Foreign Defendants’
   12   counsel sought to obtain an extension of time to answer Plaintiff’s First Amended
   13   Complaint so the Foreign Defendant’s would not be prejudiced by counsel’s
   14   withdrawal and would have time to hire new counsel if they elected to do so.
   15         11.    Foreign Defendants’ counsel initially selected May 29, 2023 as the
   16   hearing date for the motion to withdraw, approximately four weeks from the intended
   17   date of filing. However, prior to filing the motion on May 1, 2023, counsel realized
   18   that the Court was dark on May 29 due to Memorial Day. Therefore, counsel would
   19   need to extend the hearing date to the following Monday, June 5.
   20         12.    To ensure no prejudice to the Foreign Defendants’, the Parties are
   21   requesting to extend the time to answer to June 8, 2023, so that the anticipated motion
   22   to withdraw will be resolved prior to the due date of the Answer. Courts in the
   23   Central District have found it appropriate to extend the time to file an answer where
   24   counsel is withdrawing to alleviate any potential prejudice. See Texmont Design Ltd.
   25   v. Halston Operating Co., LLC, No. CV1810164CJCGJSX, 2020 WL 13281500, at
   26   *2 (C.D. Cal. Jan. 3, 2020) (extending the deadline to answer where there has been a
   27   breakdown in communication between counsel and client).
   28

                                                  -2-
                      THIRD JOINT STIPULATION TO EXTEND DEFENDANTS’ TIME TO ANSWER
Case 2:22-cv-00051-MWF-JC Document 107 Filed 05/03/23 Page 5 of 7 Page ID #:3306



    1         13.    As there is not yet a trial date and party discovery has not yet begun, the
    2   parties do not believe such an extension is an unwarranted delay. In fact, such an
    3   extension may provide certain of the Foreign Defendants an opportunity to resolve
    4   the breakdown of communications with their counsel and/or an opportunity for some
    5   or all of the Foreign Defendants to settle the case and thus preserve limited party and
    6   judicial resources. Alternatively, the extension will give the Foreign Defendants an
    7   opportunity to either retain new counsel or, if they choose (in the case of the
    8   individual Foreign Defendants), elect to proceed on a pro se basis.
    9         14.    This is the third request for an extension of time within which to respond
   10   to the FAC and the first such request since the Court’s issuance of the Court’s Order
   11   denying in part and granting in part Foreign Defendants’ Motion to Dismiss on April
   12   4, 2023.
   13         15.    The foregoing stipulation shall apply only to the undersigned Foreign
   14   Defendants and not to any other defendants in this action. The parties agree that this
   15   extension shall not prejudice any party and is in the interests of judicial economy.
   16         THEREFORE, SUBJECT TO COURT APPROVAL, IT IS HEREBY
   17   STIPULATED AND AGREED AS FOLLOWS:
   18         1.     The Foreign Defendants’ answer to Plaintiff’s first amended complaint
   19   shall be due on June 8, 2023.
   20         2.     This Order shall only be applicable to Defendants EngineOwning UG,
   21   Valentin Rick, Leonard Bugla, Leon Frisch, Marc-Alexander Richts, Alexander
   22   Kleeman, Leon Schlender, Bennet Huch, Pascal Classen, and Remo Loffler.
   23

   24

   25

   26

   27   //
   28   //
                                                  -3-
                      THIRD JOINT STIPULATION TO EXTEND DEFENDANTS’ TIME TO ANSWER
Case 2:22-cv-00051-MWF-JC Document 107 Filed 05/03/23 Page 6 of 7 Page ID #:3307



    1   DATED: May 3, 2023                    Respectfully submitted,
    2
                                              ELLIOT GIPSON PC
    3                                         Elliot B. Gipson
    4                                         Brianna N. Logan

    5

    6                                         By______/s/ Elliot B. Gipson________
                                                      Elliot B. Gipson
    7

    8                                         Attorneys for Defendants EngineOwning
                                              UG, Valentin Rick, Leonard Bugla, Leon
    9                                         Frisch, Marc-Alexander Richts, Alexander
   10                                         Kleeman, Leon Schlender, Bennet Huch,
                                              Pascal Classen, and Remo Loffler
   11

   12   DATED: May 3, 2023                    Respectfully submitted,
   13                                         MITCHELL SILBERBERG & KNUPP
   14                                         Marc E. Mayer
                                              Mark C. Humphrey
   15                                         Genevieve L. Javidzad
   16

   17                                         By______/s/Marc E. Mayer                    _
   18                                                 Marc E. Mayer
   19
                                              Attorneys for Plaintiff Activision Publishing,
   20                                         Inc.
   21

   22

   23

   24

   25

   26

   27

   28

                                                -4-
                    THIRD JOINT STIPULATION TO EXTEND DEFENDANTS’ TIME TO ANSWER
Case 2:22-cv-00051-MWF-JC Document 107 Filed 05/03/23 Page 7 of 7 Page ID #:3308



    1                             SIGNATURE ATTESTATION
    2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Elliot Gipson, attest that all other
    3   signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
    4   content and have authorized the filing.
    5

    6

    7    DATED: May 3, 2023                       ELLIOT GIPSON PC
                                                  Elliot B. Gipson
    8                                             Brianna N. Logan
    9
                                                  By_____/s/ Elliot B. Gipson________
   10                                                     Elliot B. Gipson
   11
                                                  Attorneys for Defendants EngineOwning
   12                                             UG, Valentin Rick, Leonard Bugla,
   13                                             Leon Frisch,    Marc-Alexander Richts,
                                                  Alexander Kleeman, Leon Schlender,
   14                                             Bennet Huch, Pascal Classen, and Remo
   15                                             Loffler
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                                   -5-
                       THIRD JOINT STIPULATION TO EXTEND DEFENDANTS’ TIME TO ANSWER
